           Case 2:10-cr-00176-RMP                ECF No. 107                      filed 02/03/11                   PageID.231 Page 1 of 2
O PS 8
(12/04)


                               U NITED STATES D ISTRICT C OURT
                                                                        «16541»
                                                                              for
                                                 Eastern District of Washington


 U.S.A. vs.                Andrew Michael Leavitt                                                 Docket No.                2:10CR00176-004


                                  Petition for Action on Conditions of Pretrial Release

       COMES NOW Stephen Krous, PRETRIAL SER VICES OFF ICER presenting an official report upon the
conduct of defendant A ndrew Michael Leavitt w ho w as placed under pretrial release supervision by the H ono rable
Cynthia Imbrogno sitting in the court at Spokane, WA, on the 27th day of January 2011 under the following conditions:

Condition #2: Defendant shall immediately advise the court, defense counsel and the U.S. Attorney in writing before any
change in address and teleph one num ber.

Condition #4: Defendant shall sign and complete A.O. 199C before being released and shall reside at the address furnished.

Condition #28: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment program, random
urinalysis testing shall be con ducted through P retrial Services, and shall not exceed six (6) times per month.

Additional Condition: To resolv e misdem eanor matters outside of D istrict Court.

          RESPECTFULLY PRESENTING PETITION FOR ACTION O F COURT FOR CAUSE AS FOL LOW S:
                                      (If sh ort in sert he re; if len gth y w rite o n se pa rate she et an d a ttac h.)


Violation #1: Andrew M ichael Leavtt is alleged to be in violation of his conditions for pretrial supervision in the E astern
District of Washington as his whereabouts are currently unknown.

Violation #2: Andrew M ichael Leavtt is alleged to be in violation of his conditions for pretrial supervision in the E astern
District of Washington as his whereabouts are currently unknown.

Violation #3: Andrew M ichael Leavtt is alleged to be in violation of his conditions for pretrial supervision in the E astern
District of W ashin gton by failing to call the substance abu se treatment pro vider on F ebruary 1, 2, and 3, 2011.

Violation #4: Andrew M ichael Leavtt is alleged to be in violation of his conditions for pretrial supervision in the E astern
District of Washington by failing to avail himself to the substance abuse treatment provider and provide a random urine
sample on February 3, 2011.

Violation #5: Andrew M ichael Leavtt is alleged to be in violation of his conditions for pretrial supervision in the E astern
District of W ashin gton by failing to resolve the misdem eanor warrants as directed.
        Case 2:10-cr-00176-RMP      ECF No. 107   filed 02/03/11    PageID.232 Page 2 of 2
 PS-8
 Re: Leavitt, Andrew Michael
 February 3, 2011
 Page 2

                      PRAYING THAT THE COURT WILL ORDER A WARRANT


                                                           I declare under penalty of perjury that
                                                           the foregoing is true an d correct.

                                                           Executed on:      2/3/2011

                                                      by   s/Stephen Krous

                                                           Stephen Krous
                                                           U.S. Probation Officer



THE COURT ORDERS

[ ]     No Action
[;;
  ]     The Issuance of a Warrant
[ ]     The Issuance of a Summons
[ ]     Other
                                                              6&<17+,$,0%52*12

                                                             Signature of Judicial Officer
                                                               

                                                             Date
